

People v Gilliard (2024 NY Slip Op 51524(U))



[*1]


People v Gilliard (David)


2024 NY Slip Op 51524(U)


Decided on November 11, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on November 11, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, James, JJ.



570760/19

 The People of the State of New York, Respondent, 
againstDavid Gilliard, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Frank P. Nervo, J.), rendered November 3, 2019, convicting him, upon his plea of guilty, of theft of services, and imposing sentence.




Per Curiam.
Judgment of conviction (Frank P. Nervo, J.), rendered November 3, 2019, reversed, on the law, the accusatory instrument dismissed, and surcharge, if paid, remitted.
Based on the People's concession that the accusatory instrument charging theft of services was jurisdictionally defective, we reverse defendant's conviction and dismiss the accusatory instrument without addressing the merits of the issue (see generally People v Whitelow, 2 AD3d 1393 [2003], lv denied 2 NY3d 748 [2004]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: November 11, 2024









